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 8                             UNITED STATES DISTRICT COURT
 9                           CENTRAL DISTRICT OF CALIFORNIA
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11 CINDY LINDHOLM CARTER,                        )   Case No. 2:21-cv-07723 PA (MRWx)
                                                 )
12                    Plaintiff,                 )   ORDER GRANTING
                                                 )   STIPULATION TO DISMISS
13              vs.                              )   ENTIRE ACTION WITH
                                                 )   PREJUDICE
14 LIFE INSURANCE COMPANY OF                     )
   NORTH AMERICA,                                )   Judge: Hon. Percy Anderson
15                                               )
             Defendant.                          )   Complaint Filed: September 28, 2021
16                                               )
17
18              Based upon the stipulation of the parties and for good cause shown, IT IS
19 HEREBY ORDERED that this action, Case No. 2:21-cv-07723 PA (MRWx), is
20 dismissed in its entirety as to all defendants with prejudice. All dates set in this matter
21 are hereby vacated and taken off calendar.
22              IT IS HEREBY FURTHER ORDERED that each party shall bear its own
23 attorneys’ fees and costs in this matter.
24              IT IS SO ORDERED.
25
26 Dated: November 18, 2021
                                                           Percy Anderson
27
                                                      United States District Judge
28
                                                1                 Case No. 2:21-cv-07723 PA (MRWx)
                                                              ORDER GRANTING STIPULATION TO
     177899.1
                                                         DISMISS ENTIRE ACTION WITH PREJUDICE
